USCA4 Appeal: 07-4115   Doc: 76   Filed: 10/03/2007   Pg: 1 of 4




                                    Document 1
USCA4 Appeal: 07-4115   Doc: 76     Filed: 10/03/2007   Pg: 2 of 4


                             UNITED STATES COURT OF APPEALS

                                  FOR THE FOURTH CIRCUIT


                                                                           FILED
                                                                     October 3, 2007




                                       No. 07-4059
                                     8:04-cr-00235-RWT


  UNITED STATES OF AMERICA

                  Plaintiff - Appellee


     v.

  LEARLEY REED GOODWIN, a/k/a Goodie, a/k/a Lonnie Ross

                  Defendant - Appellant




                                       No. 07-4060
                                     8:04-cr-00235-RWT


  UNITED STATES OF AMERICA

                  Plaintiff - Appellee


     v.

  PAULETTE MARTIN, a/k/a Paulette Murphy, a/k/a Paulette
  Akuffo, a/k/a Paula Murphy, a/k/a Auntie

                  Defendant - Appellant




                                       No. 07-4062
                                     8:04-cr-00235-RWT


  UNITED STATES OF AMERICA

                  Plaintiff - Appellee


     v.

  LANORA N. ALI, a/k/a La Nora Ali-Gardner

                  Defendant - Appellant
USCA4 Appeal: 07-4115   Doc: 76    Filed: 10/03/2007   Pg: 3 of 4




                                      No. 07-4063
                                    8:04-cr-00235-RWT


  UNITED STATES OF AMERICA

                  Plaintiff - Appellee


     v.

  REECE COLEMAN WHITING, JR., a/k/a Guy Counts, a/k/a Cups,
  a/k/a Dino Whiting

                  Defendant - Appellant




                                      No. 07-4080
                                    8:04-cr-00235-RWT


  UNITED STATES OF AMERICA

                  Plaintiff - Appellee


     v.

  DERREK LEWIS BYNUM, a/k/a Bo

                  Defendant - Appellant




                                      No. 07-4115
                                    8:04-cr-00235-RWT


  UNITED STATES OF AMERICA

                  Plaintiff - Appellee


     v.

  LAVON DOBIE, a/k/a Becky Parker, a/k/a Theresa Waller, a/k/a
  Dobie Parker

                  Defendant - Appellant
USCA4 Appeal: 07-4115   Doc: 76      Filed: 10/03/2007   Pg: 4 of 4

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                                       O R D E R


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                The court reporter, Tracy Dunlap, has filed a motion

          for an extension of time to file the transcript without the

          imposition of sanctions.

                The Court extends the time for filing the transcript to

          10/16/07. A 10 percent fee reduction will apply. If the transcript is

          not filed by 11/15/07, a 20 percent fee reduction will apply.



                                            For the Court - By Direction



                                            /s/ Patricia S. Connor
                                            _________________________
                                                       CLERK
